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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      )
                                              )
        v.                                    )
                                              ) 23-CR-32 (TNM)
VICTOR DENNISON,                              )
                                              )
                         Defendant.           )

                 MOTION TO MODIFY CONDITIONS OF SUPERVISION

       Mr. Dennison, through counsel, respectfully requests that the Court modify his conditions

of supervision as discussed at the arraignment earlier this week, to allow him to reside in Deland,

Florida. He has contacted DC Pretrial to provide his exact address and to make arrangements to be

supervised in Florida.

                                             Respectfully submitted,

                                             A. J. KRAMER
                                             FEDERAL PUBLIC DEFENDER

                                             _______/S/____________________

                                             Michelle Peterson
                                             Chief Assistant Federal Public Defender
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